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AF Approval 4 Chief Approval § §§

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v. CASE NO. 8:18-cr-l87-T-24TGW
PETER THOMAS

PLEA AGREEl\/fENT

Pursuant to Fed. R. Crim. P. ll(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, Peter Thomas, and the attorney for the defendant,

JeH`rey Geldert Brown, mutually agree as follows:
A. Particulan'zed Terms

l. Count(s) Pleading To

The defendant shall enter a plea of guilty to Count One of the

Indictment. Count One charges the defendant with conspiracy to possess with
intent to distribute one hundred (lOO) kilograms or more of a mixture and
substance containing a detectable amount of marihuana, a Schedule I
controlled substance, on board a vessel subject to the jurisdiction of the United
States, in violation of 46 U.S.C. §§ 70503(a) and 70506(a) and (b), and 21

U.S.c. § 960@)(2)((;).

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2. Minimum and Maximum Penalties
Count One is punishable by a mandatory minimum term of
imprisonment of five (5) years up to forty (40) years, a fine of up to
$5,000,000, a term of supervised release of at least four (4) years, and a special
assessment of $100. With respect to certain offenses, the Court shall order the
defendant to make restitution to any victim of the offense(s), and with respect
to other offenses, the Court may order the defendant to make restitution to
any victim of the offense(s), or to the community, as set forth below.
3. Alleyne v. United States and Apprendi v. New Jersey
Under Alleyne v. United States, 570 U.S. 99 (2013), and
Apprendi v. New Jersey, 530 U.S. 466 (2000), a minimum sentence of five (5)
years imprisonment up to forty (40) years may be imposed because the
following facts have been admitted by the defendant and are established by
this plea of guilty:
The defendant conspired to possess with intent to distribute one
hundred (100) kilograms or more of marihuana while on board a vessel subject

to the jurisdiction of the United States.

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4. Elements of the Offense(s)

The defendant acknowledges understanding the nature and

elements of the offense(s) with which defendant has been charged and to

which defendant is pleading guilty. The elements of Count One are:

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M;)nd:

Third:

That two or more persons, in some way or manner,
came to a mutual understanding to try to
accomplish a common and unlawful plan, as
charged in the Indictment;

That the defendant, knowing the unlawful purpose
of the plan, willfully joined in it; and

That the object of the unlawful plan was to
possess with intent to distribute one hundred
(100) kilograms or more of a mixture and
substance containing a detectable amount of
marihuana while on board a vessel subject to
the jurisdiction of the United States.

5. Counts Dismissed

At the time of sentencing, the remaining count(s) against the

defendant, Count Two, will be dismissed pursuant to Fed. R. Crim. P.

ll(c)(l)(A).

6. No Further Charges

If the Court accepts this plea agreement, the United States

Attorney's OHice for the Middle District of Florida agrees not to charge

defendant with committing any other federal criminal offenses known to the

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United States Attorney's Office at the time of the execution of this agreement,
related to the conduct giving rise to this plea agreement
7 . M
Pursuant to Fed. R. Crim. P. ll(c)(l)(B), the United States Wi]l
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement, The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will
not be allowed to withdraw from the plea of guilty.
8. Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
two-level downward adjustment for acceptance of responsibility, pursuant to
USSG §3El . l(a). The defendant understands that this recommendation or
request is not binding on the Court, and if not accepted by the Court, the

defendant Wi]l not be allowed to withdraw from the plea.

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Further, at the time of sentencing, if the defendant’s offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3El.l(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §3El.l(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

9. Low End

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will not oppose the defendant’s request to the Court that the
defendant receive a sentence at the low end of the applicable guideline range,
as calculated by the Court, The defendant understands that this
recommendation or request is not binding on the Court, and if not accepted by

the Court, the defendant will not be allowed to withdraw from the plea.

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lO. Coo_r_)eration - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the
investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant’s
possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (l) a downde departure
from the applicable guideline range pursuant to USSG §5Kl . l , or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(€), or (3) both. If the cooperation is completed subsequent to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United

States Attorney for the Middle District of Florida, Warranting the filing of a

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motion for a reduction of sentence pursuant to Fed. R. Crim. P. 35(b). In any
case, the defendant understands that the determination as to whether
"substantial assistance" has been provided or what type of motion related
thereto will be filed, if any, rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that defendant cannot
and will not challenge that deterrnination, whether by appeal, collateral attack,
or otherwise.
ll. Use of Information - Section 1B1.8
Pursuant to USSG §lBl .8(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant’s cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1Bl.8(b).
12. Cooperation - Responsibilities of Parties
a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant’s cooperation and any
other mitigating circumstances indicative of the defendant’s rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,

the defendant understands that the government can make no representation

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that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the defendant knowingly
provide incomplete or untruli testirnony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and
unreservedly disclose and provide {iill, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(l) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement, With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of defendant’s rights,

as to all felony charges pending in such cases (those offenses punishable by

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imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the
defendant’s own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course

of the defendant’s cooperation with the government

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(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire
plea agreement null and void.

13. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 21 U.S.C. §§ 853 and 881, 46 U.S.C §70507, and 28
U.S.C. §246l(c), Whether in the possession or control of the United States, the
defendant or defendant’s nominees.

The defendant agrees and consents to the forfeiture of these
assets pursuant to any federal criminal, civil judicial or administrative
forfeiture action. The defendant also agrees to waive all constitutional,
statutory and procedural challenges (including direct appeal, habeas corpus, or
any other means) to any forfeiture carried out in accordance With this Plea
Agreement on any grounds, including that the forfeiture described herein

constitutes an excessive fine, was not properly noticed in the charging

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instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment

If the United States seeks the forfeiture of specific assets pursuant
to Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture
will satisfy the notice requirement and will be final as to the defendant at the
time it is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the defendant’s sentencing To that end, the
defendant agrees to make a full and complete disclosure of all assets over
which defendant exercises control directly or indirectly, including all assets
held by nominees, to execute any documents requested by the United States to
obtain from any other parties by lawful means any records of assets owned by
the defendant, and to consent to the release of the defendant’s tax returns for
the previous five years. The defendant further agrees to be interviewed by the
government, prior to and after sentencing, regarding such assets and their
connection to criminal conduct. The defendant further agrees to be

polygraphed on the issue of assets, if it is deemed necessary by the United

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States. The defendant agrees that Federal Rule of Criminal Procedure ll and
USSG § lBl .8 will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the
defendant’s sentencing. In addition to providing full and complete
information about forfeitable assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers.

Forfeiture of the defendant’s assets shall not be treated as
satisfaction of any Iine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and wi]l, survive the defendant, notwithstanding

the abatement of any underlying criminal conviction after the execution of this

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agreement The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including any agreed forfeiture amount, is collected
in full.
14. Removal - Consent and Cooperation
The defendant agrees and consents to removal from the United
States following completion of the defendant’s sentence and agrees to waive
the defendant’s rights to any and all forms of relief from removal or exclusion.
The defendant further agrees to abandon any pending applications for relief
from removal or exclusion, and to cooperate with the Department of
Homeland Security during removal proceedings
B. Standard Terms and Conditions
1. Restitution, Special Assessment and Fine
The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, M order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §

3663, including restitution as to all counts charged, whether or not the

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defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no Way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the
Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing.

The defendant understands that this agreement imposes no
limitation as to fme.

2. Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of

imprisonment

 

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3. Immigration Conseguences of Pleading Guilty

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the
United States in the future.

4. Sentencing Information

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant’s criminal activities,
if any, not limited to the count(s) to which defendant pleads, to respond to
comments made by the defendant or defendant’s counsel, and to correct any
misstatements or inaccuracies The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.

5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an

affidavit reflecting the defendant’s financial condition. The defendant

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promises that his financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant’s tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Oflice to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant’s federal, state,
and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court, The defendant expressly authorizes the United States
Attorney's Oflice to obtain current credit reports in order to evaluate the
defendant’s ability to satisfy any financial obligation imposed by the Court
6. Sentencing Recommendations
lt is understood by the parties that the Court is neither a party to

nor bound by this agreement The Court may accept or reject the agreement,

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or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Ofiice. Defendant further understands and acknowledges that any
discussions between defendant or defendant’s attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant’s plea pursuant to this plea agreement The government expressly
reserves the right to support and defend any decision that the Court may make
with regard to the defendant’s sentence, whether or not such decision is
consistent with the govemment's recommendations contained herein.
7 . Defendant’s Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant’s sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range

pursuant to the United States Sentencing Guidelines, except (a) the ground

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that the sentence exceeds the defendant's applicable guidelines range a_s
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
It is further understood that this agreement is limited to the
Office of the United States Attorney for the Middle District of Florida and
cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
9. Filing of Agreement
This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this

cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

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10. M

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the
right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court

may ask defendant questions about the offense or offenses to which defendant

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pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.

ll. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth below are true, and were this case to go to trial, the United States would
be able to prove those specific facts and others beyond a reasonable doubt
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Beginning on an unknown date and continuing through on or about
March 17, 2018, the defendant, Peter Thomas, and his co-defendants
knowingly and willfully conspired with each other and others to possess with
the intent to distribute and to distribute one hundred (100) kilograms or more
of a mixture and substance containing a detectable amount of marihuana, a
Schedule I controlled substance, While on board a vessel subject to the

jurisdiction of the United States.

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On or about March 17, 2018, a maritime patrol aircraft (MPA) detected
the go-fast vessel (GFV) SASSY in the international waters of the Caribbean
Sea, approximately 22 nautical miles south of Navassa Island, United States.
The MPA observed the defendant and his co-defendants, who were mariners
onboard the GFV SASSY, jettisoned what appeared to be bales of contraband.
The United States Coast Guard Cutter RESOLUTE diverted its course,
launched its over-the-horizon boat, and conducted a right-of-visit boarding.

Upon a United States Coast Guard boarding team officer’s request, a
claim of Jamaican nationality for the GFV SASSY was made by co-defendant
Carlos Leroie, the master of the GFV SASSY. Pursuant to the United States-
Jamaican Bilateral Agreement, the Government of Jamaica was approached,
and asked to confirm or deny nationality of the vessel. The Government of
Jamaica confirmed Jamaican nationality of the GFV SASSY, and waived
jurisdiction of the vessel and its crewmembers, therefore rendering the vessel
subject to the jurisdiction of the United States,

During the course of the boarding, one (l) bale of marihuana was
discovered onboard the GFV SASSY, and seventeen (17) bales of marihuana
were recovered from the debris field in international waters. The total weight
of the eighteen (18) bales of marihuana discovered on board, and recovered

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from, the GFV SASSY is 408 kilograms

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The above is merely a brief summary of the events, some of the persons
involved, and other information relating to this case. lt does not include, nor
is it intended to include, all of the events, persons involved, or other
information relating to this case,

12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been

made to the defendant or defendant's attorney with regard to such guilty plea.

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13. Ceitification
The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant
and that defendant fully understands its terms.

DATEDthis i¢ dayof 39\"[ ,2018.

MARIA CHAPA LOPEZ
United States Attorne

 

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Peter Thomas Rebeeca"lz%asta'ned~a N\cJ-LoL-AS Mw
Defendant Assistant United States Attorney

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JQH\G idea Brown, Esq. José¢lh K` Ruddy
Att ey or Defendant Assistant United States Attorney

Chief, Panama Express Strike Force

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